                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

   AMERICAN COLLEGE OF                              )
   PEDIATRICIANS, et al.,                           )
                                                    )        Case No. 1:21-cv-195
            Plaintiffs,                             )
                                                    )        Judge Travis R. McDonough
   v.                                               )
                                                    )        Magistrate Judge Susan K. Lee
   XAVIER BECERRA, in his official                  )
   capacity as Secretary of the United States       )
   Department of Health and Human Services,         )
   et al.,                                          )
                                                    )
            Defendants.                             )
                                                    )


                                        SCHEDULING ORDER


        1. Introduction: Pursuant to Federal Rule of Civil Procedure 16(b), a scheduling
           conference was held in this case on July 12, 2022.

        2. Jurisdiction: In this case, the subject matter jurisdiction of the Court has been invoked
           pursuant to 28 U.S.C. §§ 1331 and 1346. Defendants anticipate raising jurisdictional
           defenses in their forthcoming motion to dismiss.

        3. Consent to a Magistrate Judge: The parties do not consent that all proceedings in this
           case may be conducted by a United States Magistrate Judge in accordance with 28 U.S.C.
           § 636(c).

        4. Motion to Dismiss:

               (a) Defendants’ Brief: Defendants shall have until July 19, 2022, to file their motion
                   to dismiss and brief in support thereof.

               (b) Response & Reply: Plaintiffs shall file any response no later than August 18,
                   2022. Defendants may file a reply to any response filed by Plaintiffs no later than
                   August 31, 2022.




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           (c) Oral Argument: Oral argument on the Defendants’ motion to dismiss, if the
               Court deems it necessary, shall take place in Courtroom 3 on October 7, 2022, at
               9:00 a.m. at the U. S. Courthouse, 900 Georgia Avenue, Chattanooga, Tennessee.

     5. Disclosure and Discovery:

           (a) Rule 26(f) Meeting: The parties have held a discovery planning meeting as
               required by Rule 26(f).

           (b) Discovery Plan: The parties have filed with the Court a discovery plan in
               accordance with Rule 26(f).

           (c) Initial Disclosures: The parties agree this case is exempt from initial disclosures
               under Rule 26(a)(1)(B)(i).

           (d) Administrative Record Production: Defendants shall file an index of the
               administrative record and serve the administrative record on Plaintiffs on or
               before November 15, 2022.

           (e) Expert Testimony: The parties do not anticipate any need for expert testimony at
               this time. The parties should notify the Court no later than December 5, 2022, if
               any party ultimately does seek to disclose an expert.

           (f) All Discovery: The parties do not anticipate any need for discovery in this case
               except for possible jurisdictional discovery. Any motion to allow limited
               discovery or to supplement or complete the administrative record should be filed
               no later than December 12, 2022.

     6. Other Scheduling Matters:

           (a) Amendment of Pleadings: If any party wishes to amend the pleadings, such
               motion should be filed on or before December 5, 2022.

           (b) Dispositive Motions: All dispositive motions under Rule 12 and all motions for
               summary judgment pursuant to Rule 56 shall be filed as soon as possible, but no
               later than January 30, 2023. The failure to timely file such motions will be
               grounds to summarily deny them. The parties must comply with § 5.H. of the
               Court’s preferences concerning joint appendices relating to motions for summary
               judgment.

           (c) Dispositive Motions Hearing: Oral argument on the parties’ dispositive motions,
               if the Court deems it necessary, shall take place in Courtroom 3 on April 24,
               2023, at 9:00 a.m. at the U. S. Courthouse, 900 Georgia Avenue, Chattanooga,
               Tennessee. If this case is not heard immediately, it will be held in line until the
               following day or anytime during the week of the scheduled hearing date.
               SHOULD THE SCHEDULED HEARING DATE CHANGE FOR ANY


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             REASON, THE OTHER DATES CONTAINED IN THIS ORDER SHALL
             REMAIN AS SCHEDULED. SHOULD THE PARTIES DESIRE A
             CHANGE IN ANY OF THE OTHER DATES, THEY SHOULD NOTIFY
             THE COURT AND SEEK AN ORDER CHANGING THOSE DATES.

        SO ORDERED.

                                     /s/ Travis R. McDonough
                                     TRAVIS R. MCDONOUGH
                                     UNITED STATES DISTRICT JUDGE




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